            Case 1:22-cv-10187-WGY Document 1 Filed 02/03/22 Page 1 of 4




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 SOMPO JAPAN INSURANCE INC.,                                   Case No. 22-cv-10187

                         Plaintiff,

    - against -
                                                                   COMPLAINT
 FORWARD AIR CORP.,

                         Defendant.



       Plaintiff Sompo Japan Insurance Inc. (“Sompo”), by and through its attorneys Hill Rivkins

LLP, as and for its Complaint against the above-named Defendant, alleges upon information and

belief as follows:

       1.         This action arises from loss or damage to a shipment of medical machinery (the

“Cargo”) transported by motor carriage from Chicago, Illinois, to Peabody, Massachusetts, in or

about February-March 2020.

       2.         This Honorable Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332(a)(2), in that the plaintiff in this action is the citizen of a foreign country and

the defendant is the citizen of a state, and the matter in controversy exceeds the sum

of $75,000, exclusive of costs and interest. Furthermore, to the extent any subrogor

might have an interest in this action, no potential subrogor is a resident of the same

state as any defendant. Alternatively, the Court has subject matter jurisdiction pursuant to 28

U.S.C. § 1331, as Sompo’s claims against the Defendant are governed by federal common law.

Alternatively, the Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1337, to the extent

that this action arises from the transportation of goods governed by 49 U.S.C. § 14706 and the

amount in controversy exceeds $10,000 per bill of lading.

                                                 1
             Case 1:22-cv-10187-WGY Document 1 Filed 02/03/22 Page 2 of 4




        3.      The U.S. District Court for the District of New Massachusetts is the proper venue

for this action pursuant to 28 U.S.C. § 1391(b)(2).

        4.      At all times relevant hereto, Plaintiff Sompo was and now is a corporation

organized and existing under the laws of Japan with an office and principal place of business in

Japan, as well as a U.S. office at 725 Figueroa Street, Los Angeles, California, 90017, and was the

insurer of the Cargo that is the subject of this action.

        5.      At all times relevant hereto, Sompo’s insured, Canon Medical Systems Corp.

(“Canon”), was and now is a corporation organized and existing under the laws of Japan with an

office and principal place of business in Japan, as well as a U.S.-affiliated office in California, and

was the shipper and owner of the Cargo at issue in this action. The Cargo consisted of medical

machinery shipped in international commerce in good order and condition. The Cargo originally

was transported from Tokyo, Japan via air, pursuant to an air waybill numbered NEC 76660522,

issued by Nippon Express covering carriage from Tokyo to Boston by way of O’Hare airport in

Chicago.

        6.      Pursuant to an insurance claim made under a policy then in full force and effect,

and prior to the commencement of this action, Sompo reimbursed Canon for the loss or damage to

the Cargo and thereby became subrogated to all of Canon’s rights, remedies, claims, and causes of

action with respect to the Cargo, including the claims asserted against Defendant herein. Sompo

bring this action on its own behalf and, as agent and trustee, on behalf of and for the interest of all

parties who may be or become interested in the Cargo, as their respective interests may ultimately

appear, and Sompo is entitled to maintain this action.

        7.      At all times relevant hereto, Defendant Forward Air Corp. (“Forward”) was and

now is a corporation or other business entity organized and existing under Tennessee law, with an



                                                   2
            Case 1:22-cv-10187-WGY Document 1 Filed 02/03/22 Page 3 of 4




office and principal place of business at 1915 Snapps Ferry Road, Bldg. N, Greeneville, Tennessee

37745. Forward was and now is engaged in business as a carrier, third-party logistics provider,

freight forwarder, and/or indirect air carrier of goods for hire.

       8.      In or about February 2020, Forward agreed to transport and/or arrange the

transportation of the Cargo from O’Hare Airport in Chicago by motor carriage and deliver same

to Boston, Massachusetts, in exchange for certain consideration and payment of freight and related

charges.

       9.      Forward also issued a waybill or bill of lading for the carriage of the Cargo.

       10.     Thereafter, the Cargo was tendered to Forward at O’Hare Airport in good order and

condition, with customary and adequate packaging, and suitable in every respect for the intended

transportation, which Forward received, accepted, and agreed to transport in interstate commerce.

       11.     However, upon the Cargo’s arrival at Boston, the Cargo was discovered to have

been physically damaged during Forward’s motor carriage.

       12.     Shortly thereafter, Canon was notified of the damage and Forward was placed on

notice of Canon’s resulting claims.

       13.     By reason of the premises, Forward failed to deliver the Cargo to destination in the

same good order and condition as it was received; were negligent and careless in its handling of

the Cargo; breached its statutory, common law, and/or contractual duties and obligations as carriers

and bailees of the Cargo; and were otherwise at fault.

       14.     Plaintiff Sompo and its insured have performed all of the duties, obligations, and

conditions precedent to be performed on their part with respect to the Cargo.




                                                  3
             Case 1:22-cv-10187-WGY Document 1 Filed 02/03/22 Page 4 of 4




       15.      By reason of the premises, Plaintiff Sompo has sustained damages as nearly as same

can now be estimated, no part of which has been paid although duly demanded, in the amount of

$97,240.00.

       16.      Plaintiff Sompo requests that all issues be tried before a jury.

       WHEREFORE, Plaintiff Sompo prays:

       (i)      that process in due form of law be issued against Defendant according to the

                practice of this Honorable Court, citing them to appear and answer the foregoing;

       (ii)     that judgment be entered in favor of Sompo against Defendant, jointly and

                severally, in the amount of $97,240.00, together with costs, interest, and

                reasonable attorney’s fees; and

       (iii)    for such other and further relief as this Honorable Court deems just and proper

                under the circumstances.


Dated: February 3, 2022
                                                       HILL RIVKINS LLP
                                                       Attorneys for Plaintiff


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